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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:05CR3078
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )          MEMORANDUM
                                         )          AND ORDER
MILTON JOSEPH, III,                      )
                                         )
                   Defendant.            )

       Due to the United States Attorney’s Office retreat, and with the agreement of
the defendant,

      IT IS ORDERED that Defendant Milton’s sentencing is continued to Friday,
September 22, 2006, at 12:00 noon, before the undersigned United States District
Judge, in Courtroom No. 1, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Since this is a criminal case, the
defendant shall be present unless excused by the court.

      August 25, 2006.                       BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
